    Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 1 of 8

USDC FLSD 2458 (Rev.09/08)-Judm entinaCrimi
                                          nalCase                                                                 Pagelof6


                          U N IT E D ST A T E S D IST R IC T C O U R T
                                                Southern D istrictofFlorida
                                                    W estPalm Beach D ivision

                                                     AM ENDED (toincludestipulatedrestitutionamount)
                                                                JUD G M ENT IN A CR IM INA L CA SE
U N ITED STA TES O F AM ER ICA
                     V.                                         CaseNumber:18-80166-CR-M IDDLEBROO KS
    NICH OLAS R.W UKO SON                                       USM N tuuber:19092-104

                                                                CounselForDefendant:M ichaelB.Cohen
                                                                CounselForTheUnited States:Gregory Schiller
                                                                Coul'tReporter:DianeM iller
Thedefendantpleaded guiltytocountts)Onethrough Seven oftheSupersedingIndictment.
Thedefendantisadjudicatedguiltyoftheseoffenses:
TITLE & SECTION                   NATURE OF OFFENSE                                         OFFENSE           COUNT
                                                                                            ENDED
18 U                              Possession ofchild pom ography involving a
       S.C.
       .                               b      t
j2252(a)(4)(B),                   prepu escen minororaminorwhohasnotattainedthe 12/04/2017                    1
               (b)(2)             ageOj-twejve
18U                               Possession ofchild pornography involvinga
       S.C.
       .
j2252(a)(4)(B)                    prepubescentminororaminorwhohasnotattainedthe 12/04/2017                    2
             ,(b)(2)              ageoj-twejve
18 U                              Possession ofchild pom ography involving a
       S.C.
       .
j2252(a)(4)(B),(b)(2)             p
                                  ar
                                   geepo
                                       uj
                                        besce
                                        -twe ntminororaminorwhohasnotattainedthe 08/14/2017
                                            jve                                                               3

18U                               Possession ofchild pom ography involving a
       S.C.
       .
j2252(                            prepubescentminororaminorwhohasnotattainedthe 08/15/2017                    4
     a)(4)(B),(b)(2)              ageoj-twejve
18 U                              Possession ofchildpom ography involving a
       S.C.
       .                                                  j     j
j2252(                            PreptlbescentminorOram nOrW w jjasnotattainedthe 09/25/2017                 5
     a)(4)(B),(b)(2)              age0j-twejve
18U                               Possession ofchild pornography involving a
       S.C .
       .
j2252(a)(4)(B),                   prepubescentminororaminorwhohasnotattainedthe 11/14/2017                    6
               (b)(2)             ageoj-twejve
18U.S.C.j1512(c)(2)      W itnesstnmpering                                 12/13/2017    7
The defendantis sentenced as provided in the fdllowing pages ofthisjudgment.The sentence is imposed
pursuantto theSentencing Refonu Actof1984.
   Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 2 of 8


ltis ordered thatthe defendant mustnotify the United States attorney forthis districtwithin 30 days of any
change ofnam e,residence,Qrm ailing address untilal1fines,restitution,costs,and specialassessm entsimposed
bythisjudgmentarefullypaid.Iforderedtopayrestimtion,thedefendantmustnotifythecourtandUnitedStates
attorney ofmaterialchangesin economiccircumstances.


                                                    Date oflm po '1on fSentence:4/29/2019


                                                                                      +
                                                                                          /

                                                    Do      M .M iddlebroolts
                                                    U nited StatesD istrictJudge


                                                    Date:           x-
                                                                     A /.zg
      Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 3 of 8
USDC(LSD24.
-.     -'
     ...  /:(Rev.09/08)-pudpnentinaCrimi
               -'                      nalCase                                                   J21 .   Page2ofj

DEFENDANT:NICHOLAS R.W UKOSON
CASE N UM BER:18-80166-CR-M IDDLEBRO OKS

                                           IM PRISONM ENT
The defendantishereby comm itted to the custody oftheUnited StatesBureau ofPrisonsto be im prisoned fora
totalterm ofNINETY-SIX (96)M ONTHS asto CountsOnethrough Seven to beserved concurrently with
each other.
The courtm akesthe follow ing recom m endationsto the Bureau ofPrisons:
            1. TheDefendantbedesignated to afacility in orascloseto Northern Florida aspossible.
The defendantis rem anded to the custody ofthe U nited StatesM arshal.

                                                       R ETUR N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                              to

at                                               ,withacertifedcopyofthisjudgment.




                                                           U N ITED STA TES M A R SH AL



                                                           DEPU TY U NITED STA TES M A RSH A L
    Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 4 of 8
LISDCFLSD2458(Rev.09/02)-Judgmentina.CriminalCase            .                                                     Page3of6

DEFENDANT:NICH OLAS R.W UKO SO N
CASE X M BER:18-80166-CR-M IDDLEBROO KS

                                                    SUPERVISED RELEASE
Upon releasefrom imprisonment,thedefendantshallbeon supervised releaseforaterm ofFW TEEN (15)YEARS.This
term consistsofThree (3)yearsasto CountSeven and Fifteen (15)yearsasto CountsOnethrough Sixto beserved
concurrently with each othtr.
The defendantmustreportto the probation office in the districtto which thedefendantisreleased within 72 hoursofrelease
from thecustody oftheBureau ofPrisons.
The defendantshallnotcom m itanotherfederal,stateorlocalcrime.
The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testw ithin 15 daysofrelease from im prisonmentand atleast
two periodic drugteststhereafter,asdeterm ined by the court.
The defendantshallnotpossessa irearm ,am m unition,destructivedevice,or any other dangerousweapon.
The defendantshallcooperatein the collection ofDNA asdirected by the probation ofncer.

Ifthisjudgmentimposesafineorrestitution,itisaconditionofsupervised releasethatthedefendantpay in accordance
withtheScheduleofPaymentssheetofthisjudgment.
The defendantmustcomply with thestandard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionson the attached page.
                                 STANDARD CONDITIONS OF SUPERW SION
         Thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
       Thedefendantshallreportto theprobation officeréndshallsubmitatruthfulandcompletewrittenreportwithin thetirstfifteen
       daysofeach m onth;
    3. Thedefendantshallanswertruthfullyal1inquiriesby theprobation officerand follow theinstructionsoftheprobation officer;
    4. Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
    5. Thedefendantshallworkyegularly ata lawfuloccupation,unlessexcusedby theprobation officerforschooling,training,or
        otheracceptablereasons;
    6. Thedefendantshallnotifytheprobationofficeratleasttendayspriorto any changeinresidenceoremployment;
    7. Thedefendantshallregain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
        controlled substanceorany paraphem aliarelatedto any controlled substances,exceptasprescribedby aphysician;
    8. Thedefendantshallnotgequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradministered;
    9. Thedefendantshallnotassociatewith any personsengaged in criminalactivity and shallnotassociatewith anyperson
        convicted ofafelony,unlessgrantedpermissionto dosobytheprobation officer;
    10. Thedefendantshallpermitaprobation officerto visithim orheratany timeathomeorelsewhereand shallpermitconfiscation
        ofanycontrabandobserved inplain view oftheprobation officer;
    11.ThedefendantshallnotifytheprobationofGcerwithin seventptwo hoursofbeing arrested orquestionedby a1aw enforcement
        officer;
    12. Thedefendantshallnotenterinto any agreementtoactasan informeroraspecialagrntofalaw enforcementagencywithout
       thepermission ofthecourt;and
    l3.Asdirected bytheprobation officer,thedefendantshallnotify thirdpartiesofrisksthatmaybeoccasionedby thedefendant's
        criminalrecord orpersonalhistory orcharacteristicsandshallpermittheprobation officerto makesuch notitkationsandto
        confirm thedefendant'scom pliancewithsuchnotification requirem ent.
    Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 5 of 8
USDC FLSD 2458 (Rev.09/08)-Judm enti
                                   naCriminalCase                                                       Page4of6

DEFENDANT:NICH OLAS R.W UKO SON
CASE N UM BER:18-80166-CR-M IDDLEBROOK S

                                       SPECIAL CONDITIONS OF SUPERVISION

Adnm W alsh ActSearch Condition -ThedefendantshallsubmittotheU.S.Probation Officerconducting
periodicunnnnounced searchesofthe defendant'sperson,property,house,residence,vehicles,papers,
computerts),otherelectroniccommunicationordatastoragedevicesormedia,includeretrievalandcopyingof
alldatafrom thecomputerts)andanyinternalorexternalperipheralsandeffectsatanytime,with orwithout
warrantby any law enforcementorprobation ofscerwith reasonablesuspicion concem ing tmlawfulconductora
violation ofa condition ofprobation orsupervised release.Thesearch m ay includetheretrievaland copying of
al1datafrom thecomputerts)andanyinternalorexternalperipheralstoensurecompliancewithothersupervision
conditionsand/orrem ovalofsuch equipm entforthepurposeofconducting amorethorough inspection;and to
haveinstalledonthedefendant'scomputerts),atthedefendant'sexpense,anyhardwareorsoftwaresystemsto
monitorthedefendant'scomputeruse.

NoContactwithM inorsinEmployment-Thedefendantshallnotbeemployedin ajobrequiringcontactwith
children undertheage of18 orwith thevictim .

N o lnvolvementin Youth Organizations-Thedefendantshallnotbeinvolved in any children'soryouth
organization.

No Unsupervised Contactwith M inors-The defendantshallhaveno unsupervised,personal,m ail,telephone,or
computercontactwith children/minorsundertheage of18 orwith thevictim .

PermissibleComputerExam ination -Thedefendantshallsubm itto theU .S.Probation Ofscerconducting
periodicunannouncedexnminationsofthedefendant'scomputerts)equipmentwhichmayincluderetrievaland
copyingofa1ldatafrom thecomputerts)andanyinternalorexternalperipheralstoensurecompliancewiththis
condition and/orremovalofsuch equipm entfprthepurposeofconducting am orethorough inspection;andto
haveinstalledonthedefendant'scomputerts),atthedefendant'sexpense,anyhardwareorsoftwaresystemsto
monitorthedefendant'scom puteruse.

Perm issible Search -Thedefendantshallsubmitto asearch ofhis/herperson orproperty conducted in a
reasonablemnnnerand atareasonabletim eby theU .S.Probation Ofûcer.

Required Child Support-Thedefendantshallcomply with theterm sand conditionsordered by CircuitCourtof
the 15th JudicialCircuit,fortheStateofFlorida,in docketnumber502010DR013584          B,requiring
paym entsforthesupportandm aintenanceofthechild,Jack W ukoson and the custodialparentwith whom that
child isliving.

Restricted from Possession ofSexualM aterials-Thedefendantshallnotbuy,sell,exchr ge,possess,trade,or
producevisualdepictionsofm inorsoradultsengaged in sexually explicitconduct.The defendantshallnot
correspond orcom m unicate in person,by m ail,telephone,orcom puter,w ith individuals orcom panies offering to
buy,sell,trade,exchange,orproducevisualdepictionsofm inorsoradultsengaged in sexually explicitconduct.

SexOffenderRegistration-ThedefendantshallcomplywiththerequirementsoftheSexOffenderRejistration
andNotificationAct(42U.S.C.j 16901,etseq.)asdirectedbytheprobation officer,theBureauofPnsons,or
any state sex offenderregistration agency in w hich he orshe resides,w orks,isa student,orw as convicted of a
qualifying offense.
   Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 6 of 8
Sex OffenderTreatm ent-Thedefendantshallparticipatrin a sex offendertreatmentprogrnm toinclude
psychologicaltestingand polygraph exam ination.Participation m ay include inpatient/outpatienttreatment,if
deem ednecessary by thetreatm entprovider.The defendantwillcontributeto thecostsofservicesrendered
(co-payment)basedonabilitytopayoravailabilityofthirdpartypayment.
Unpaid Restitution,Fines,orSpecialAssessm ents-Ifthedefendanthasanyunpaid nmountofrestim tion,fnes,
orsptcialassessments,thedefendantshallnotify theprobation oftscerofany m aterialchangein thedefendant's
econom iccircum stancesthatm ightaffectthedefendant'sability to pay.
    Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 7 of 8
USDCFLSD2458(Rev.09/08)-JudgnentinaCriminalCase                                                           Page50f'
                                                                                                                 6

DEFPN DANT:NICH OLAS R.W UKO SO N
CASE N UM BER:18-80166-CR-M IDDLEBRO OKS

                              CR IM IN A L M ON ETA R Y PENA LTIES
Thedefendantmustpay thetotalcrim inalmonetary penaltiesunderthescheduleofpaym entson Sheet6.
                                          Assessm ent              Fine                     Restitution
          TOTALS                              $0.00               $0.00                     $24,000.00
The determ ination of restitution is deferred until 7/11/2019 at 10:30 am . A n A m ended Judgm ent in a
CriminalCase(AO 245C)willbeentered aftersuch determination.
Ifthe defendantmakes a partialjayment,each payee shallreceive an approximately proportioned
paym ent,unless specified othenvise ln the priority order or percentage paym ent colum n below .H ow ever,
pursuantto18U.S.C.j366441),allnonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
NA M E OF PA Y EE                                         TO T AT,LO SSW   R ESTITUTIO N O R D ERED
Seevictim list                                            $0.00                $24,000.00
R estitution w ith Im prisonm ent - It is further ordered that the defendant shall pay restitution in the
am ountof$24,000.00.
Duringtheperiod ofincarceration,'paymentshallbemadeasfollows:(1)ifthedefendantearnswagesin a
FederalPrison Industries(UNICOR)job,then thedefendantmustpay 50% ofwagesearned toward the
financialobligationsimposed by thisJudgmentin aCriminalCase;(2)ifthedefendantdoesnotwork in a
UNICOR job,then the defendant must pay a minimum of $25.00 per quarter toward the nnancial
obligationsim posed in this order.
U pon release of incarceration, the defendant shall pay restitution at the rate of 10% of m onthly gross
earnings,untilsuch timeasthecourtmay alterthatpaymentschedulein theinterestsofjustice.TheU.S.
Bureau of Prisons, U.S. Probation Office and U.S. Attorney's Office shall m onitor the paym ent of
restitution and report to the court any m aterial change in the defendant's ability to pay.T hese paym ents
do npt preclude the governm ent from using other assets or incom e of the defendant to satisfy the
restitution obligations.
* Findings forthe totalam ountof losses are required underChapters 109A,110,1IOA,and 113A ofTitle 18 for
                                                      .

offensescom mitted on orafterSeptember13,1994,butbeforeApril23,1996.       .



**Assessmentdueim mediately unlessothem iseordered by theCourt.
    Case 9:18-cr-80166-DMM Document 117 Entered on FLSD Docket 05/20/2019 Page 8 of 8
USDCFLSD2458(Rev.09/08)-Judm enti
                                naCriminalCase                                                          P>gejo($

DEFEN DANT:NICH OLAS R.W UKO SON
CASE N UM BER:18-80166-CR-M IDDLEBROO KS

                                                 SCH ED U LE O F PA YM ENTS
Having assessed the defendant's ability to pay,payment of the total crim inal monetary penalties is due as
follows:
A.Lump sum paym entof$30,700.00 dueim m ediately.

Unlessthecourthasexpressljorderedotherwise,ifthisjudgmentimposesimpdsonment,paymentofcriminal
monetary penaltiesisduedurlngimprisonment.A11criminalmonetay penalties,exceptthosepaymentsmade
through the FederalBureau ofPrisons'Inmate FinancialResponsibillty Progrnm,are made to the clerk of the
court.
The defendantshallreceive credit for a1lpaym entspreviously m ade toward any crim inal monetary penalties
im posed.
Thisassessmenvfine/restitution ispayabletothe CLERK,UNITED STATES COURTS and isfo beaddressedto:
U .S.CLER K 'S O FFICE
A TTN :FIN A N CIAL SE CTIO N
400NORTH M IAM IAVENUE,ROOM 08N09
M IA M I,FL O RIDA 33128-7716
The assessm ent/sne/restim tion ispayable imm ediately.The U .S.Bureau ofPrisons,U.S.Probation Offce and
theU.S.Attorney'sOffice areresponsibleforthe enforcem entoftllisorder.

Defendantand Co-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,Jointand
SeveralAmount,and corresponding payee,ifappropriate.
C A SE N UM BER                                                                       go lx 'r x xp SEVE R AL
D EFEN DA N T AN D C O -D EFEND A NT N A M ES                     TO TA L A M O U N T A M O UN T
(INCLUDING DEFENDANT NUM BER)


T he Defendant's right,title and interest to the property identified in the prelim inary order of forfeiture,
which hasbeen entered by theCourtand incorporated by referenceherein,i!hereby forfeited.
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitution principal,(3)restitutioninterest,
(4)fineprincipal,(5)fineinterest,(6)commtmityrestitution,(7)penalties,and(8)costs,includingcostof
prosecution and courtcosts.
